EXHIBIT C
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                                                                            SHEIN
                                                                           STYtE UMK LOOSTICS
    SHEIN Style link Logistics LLC
    Whitestown, IN 46075
    5400 E. 5005

    March 21st, 2024


    DearNeil Burch,


    We are pleased to conditionaily offer you empioyment as Training Manager with SHEIN Style Link Logistics LLC (the "Company"), located in WhEtestown, indiana
    (5400 E 500 S, Whitestown, IN 46075). This is a full-time, exempt position and you will be reporting to the Director of Operations, Wiliiam Wash. Your anticipated
    start date is Apr!! 1st, 2024.


         1. Comuensation:


                      3. Base Pay: !n this position, you will earn a starting base salary of $102,000 per year. Your base salary wi!l be payable pursuant to the Company's
                            regular payroi) policy.
                      b. Discretionary Bonus: You will be eligible for a discretionary annual bonus of up to 1.5 months of your salary per current company po!icy. The
                            discretionary annual bonuses, if any, are awarded in the Spring of each yeac and are prorated based on the number of months an employee has
                            worked during the prior calendar year, l.e., January 1 through December 31.


         2. Restricted Stock Units:


               You will be granted Restricted Share Units ("RSUs") ("New-hire Grant"} with a total value of $15,098 pursuant to the AMENDED AND RESTATED STOCK
               INCENTiVE PLAN ofSHEIN Cayman holding company ("SHEIN Cayman", a related entity of the Company incorporated under the isws of the Cayman
               Islands) which may be amended from time to time ("Stock Incentive Plan"), subject to the terms and conditions of the Stock Incentive Pian and the award
               agreement.


               For the avoidance of doubt, the number of SSUs granted under New-hire Grant as well as Ongoing Grant defined herein shail be determined per the
               valuation of Shares established based on the most recent audited financial report immediatety prior to the Granting Date.


               You will be granted the New-hire Grant In the next Shein Group unified granting date (as a non-bsnding reference, it's usuaily January, April, July or
               October each year, "Granting Date") after you Join the Company.


               After you Join the Company, you will formally sign the award agreement through an appointed online platform. The specific signing time is generally in the
               next signing window after you join the Company (as 3 non-bindlng reference, itisusually January, ApriE, July or October), if it coincides with the quiet
               period before the release of the financial report, itwil! be postponed to the time after silent period, without affecting vesting commencement date. In
               principle, vesting commencement date shall be the same date as Granting Date.


               On the premise that you have signed the offer letter (or RSU grant notice} and the award agreement, the RSUs shall vest (and be settled) ONLY when both
               of the two conditions are satisfied; (i) service-time and performance-based requirement ("Service-Based Requirements" or"SBRs", Performance Rating
               requirement ss Levei B or above (or such other equivalent grading under any appijcabfe performance evaluation policy ofSHEiN) in the performance
               appraisal of then calendar year prior to each vesting date) and (ii) an IPO of the issuing company. Unless otherwise provided in your award
               notice/agreement, the SBRs are satisfied over a 4-year period, with 50% of all RSUs satisfying the SBRs upon the 2nd annsveraary of the vesting
               commencement date as specified in the award notice/agreement, and the remainder of RSUs satisfying SBRs armualiy in equal installments thereafter in
               the remaining period (upon the expiration of the 2nd, 3rd and 4th anniversaries, each a "Vesting Date").


               !n addition, during the three-year period (each year as a grant year) commencing from the 1st anniversary to the 4th anniversary af the vesting
               commencement date of the New Hire Grant, you wiii also partake in the annual RSUs grant ("Ongoing Grant"} of SHEiN Cayman and in each grant year be
               granted RSUs with a total grant value of $6,039 provided that the appraisal of your work performance of the then calendar year prior to each grant year
               reaches Level B or above (or such other equivalent grading under any appilcabie performance evaluation poiicyofSHEIN}. For each grant year's Ongoing
               Grant (if any), SBRs are satisfied over a 4-year period, w1th25%of RSUs satisfying the SBRs annually in equal installments. For the avoidance of doubt, the
               Ongoing Grant RSUsshali only take effect as of the signing of the award agreement provided to you and be vested when both of foiiowing two conditions
               are satisfied: (s) SBRs (Performance Rating requirement is Level 8 or above(or such other equivalent grading under any applicable performance evaluation
               policy ofSHEIN)), and (fi) an 1PO of the issuing company.

         3. Empioyee Benefits:


                       o Health Benefits: The Company provides elected based medical, dental, and vision plan for employee, effective the 1st of the month following
                            the date of hire. Please reference to the Benefits Information Guide for mare details.
                       o 401k Pian: a discretionary match of 100% up to 2% of your bi-weekly gross income, waiting period: Ist of the month, foliowing date of hire.
                       o Mobile Data Reimbursement:TheCompany offers $30 per pay period for the use of your personal devices (i.e., mobile phone) for business
                            purposes, which may include local storage. Please note that you'li be required to download third party apps that are essential to your work
                            here, including, but not limited to, WeCom (798.7 MB) for internal communications and Okta (13.1 MB) for multifactor authentication and
                            access to company systems.
                       o Paid Time Off: Subject to the company's PTO policy, you will be eligible for:
                                  • Forty-eight (48) hours paid sick leave per calendar year.
                                       Ten (10) paid holidays for reguiar, fu!i-time empioyees.
                                       Ten (10) paid time off you may accrue during your first year, which may Increase based on your year of service:
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                                                                                        Maximum Annual Vacation Accrual
                                            1st          year              10         days
                                            2nd            year             11         days
                                            3rd           year              12        days
                                            4th           year             13         days
                                            5th year and beyond 15 days




    Your employment will be "at-wiii/'which means you will be free to leave your empioyment with the Company at any time for any reason, Similarly, the Company may
    terminate your employment at any time, for any or no reason, with or without cause or notice. At-will status may only be modified on an individual or collective basis
    via a writing signed by the Company.


    This offer is contingent upon your successful completion ofai! of the Company's lawful pre-empioyment checks and you completing Company's onboarding
    documentatioris, which may include a background check/and signed acknowledgment forms of the Employee Handbook. By signing below, you agree to execute any
    necessary consents to perform ai) verifications set forth in this offer letter.


    This offer and your active employment status are contingent upon your eligibiiity to work in the United States under the provisions of aii appiicable immigration !aws
    and regulations including the Immigration Reform and Control Act of 1986, as amended, and your completing the required employment eligibiffty verification form
    upon hire, e.g., Form 1-9, Employment Eligibility Verification. As such, on your first day of empioyment, please be sure to bring appropriate identification (e.g., (1) a
    valid passport or (2) a valid driver's iicerise and either your original or certified copy of your birth certificate or your social security card) for purposes of establishing
    your identity and eligibility for empioyment in the United States. If you have questions regarding what documentation can be used, visit https://www.uscis.gov/i-9-
    central/form-i-9-acceptable-docLiFnents or contact Human Rssourcesathr@sheingroup.com, !f you are unable to provide this documentation within three {3} days
    of your Start Date, this offer of employment will be withdrawn. This offer is contingent on your securing valid immigration status and work authorization before
    your expected start date and maintaining your valid immigration status and work authorization throughout your employment.


    Additionally, and in compliance with federal law, ail persons hired by the Company are required to verify their identity and eligibiiity to work in the United States and
    to complete the required empSoymentelSgibiiity verification form upon hire, e.g., Form i-9, EmpioymentEljglbilitv Verification. As such, on your first day of
    employment, piease be sure to bring appropriate identification (e.g., (1) a valid passport or (2) a valid driver's license and either your originai or certified copy of your
    birth certificate or your social security card} for purposes of establishing your identity and eligibility for employment in the United States. !f you have questions
    regarding what documentation can be used, visit https://www.uscis.gov/i-9-central/form-i-9-acceptable-documents or contact Human Resources at
    hr@isheingroup.com. If you are unable to provide this documentation within three (3) days of your Start Date, this offer of employment will be withdrawn.


    Your employment is also contingent upon signing the Company's Confidentiality and invention Assignment Agreement snd other agreements that the Company may
    require from time to time. During your employment, you will be subject to ai! of the policies, rules, and regulations applicable to employees of the Company, as they
    currently exist and subject to any future modifications in the Company's discretion including, without limitation, maintaining as confidential proprietary information
    of the Company during your employment and thereafter,


    This letter is merelyasummaryofthemaintermsofour employment offer and is not a contract of employment for any definite period of time. This letter supersedes
    any prior or subsequent araS or written representations regarding the terms of potential employment with the Company. By signing below, you acknowledge that you
    are not relying on any representations other than those set forth in this letter.


    This offer will be withdrawn, regardless of whether you've verbally accepted, if any of the above conditions are not satisfied or if you have not sign this offer within
    three business days.


    By signirsg this letter below, you acknowledge acceptance of our offer. You further acknowledge, represent, and warrant to the Company that you are not now under
    any obligation of a contractual nature to any person, business, or other entity which is inconsistent or in conflict with this ietter or which would prevent you from
    performing your obligations for the Company. We look forward to having you as part of the team. If you have any questions, please do not hesitate to contact me.


    Sincerely,




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    Megha Aern
    Talent Acquisition Specialist
                                                                                                                                         Accepted and Acknowledged:

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